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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA


      v.
                                                  Cr. 21-cr-78 (EGS)

JOHN SULLIVAN

               MOTION TO RELEASE SEIZURE ORDER RELATED
               TO DEFENDANT’S BANK ACCOUNT IN UTAH AND
                 TO FORBID SEIZURES OF OTHER ACCOUNTS

      Defendant, by and through undersigned counsel, does hereby seek

an Order from this Court discharging the seizure of his bank account in

Utah and to prevent any further seizures of other bank accounts belonging

to defendant. In support thereof, defendant respectfully sets forth as

follows:

      Defendant was arrested in connection with the events of January 6,

2021 at the United States Capitol. Defendant has been indicted for the

following offenses: Obstruction of an Official Proceeding, 18 U.S.C. Sec.

1512 (c)(2); Civil Disorder, 18 U.S.C. Sec. 231 (a)(3); Entering and

Remaining in a Restricted Building, 18 U.S.C. Sec. 1752 (a)(1); Disorderly

and Disruptive Conduct in a Restricted Building or Grounds, 420 U.S.C.

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Sec. 5104 and Disorderly Conduct in Capitol Building, 40 U.S.C. Sec. 5104

(e)(2)(d).

       On or about April 29, 2012 defendant learned that his personal bank

account in Utah was seized by the United States. 1 Neither defendant nor

his counsel were given prior notice of the seizure of his account. Defendant

has confirmed that his account was seized by federal authorities pursuant

to a sealed warrant issued by a United States Magistrate. The signed

warrant is due to be provided to undersigned counsel with the release of

other discoverable items of evidence.

       Criminal forfeiture proceedings, including pretrial seizure of property

subject to forfeiture upon conviction, are governed by 21 U.S.C. Sec. 853,

see 18 U.S.C. Sec. 982 (b)(1), as well as Federal Rule of Criminal

Procedure 32.2. Under 21 U.S.C. Sec. 853, the government may request a

warrant from a federal court authorizing the pretrial seizure of property

subject to forfeiture in the “same manner as provided for a search warrant.”

21 U.S.C. Sec. 853(f).

       It is well recognized that a pretrial seizure of assets in a criminal



1 The name of defendant’s bank and his bank account number will be
provided, if necessary, under seal.
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case constitutes an impairment on property triggering the Due Process

Clause of the Fifth Amendment to the Constitution, which provides that “no

person…shall be deprived of life, liberty, or property, without due process

of law.” See, Connecticut v. Doehr, 501 U.S. 1, 12 (1991); The Supreme

Court has characterized pretrial asset restraints as “the nuclear weapon of

the law.” Grupo Mexicano de Deasarrollo, S.A. v. Alliance Bond Fund, Inc.,

527 U.S., 308,332 (1999).

      The federal courts have consistently recognized that particular

attention must be paid when dealing with this “severe remedy.” United

States v. Razmilovic, 419 F. 3d 134,137 (2d. Cir. 2005). This is particularly

so because asset restraints are imposed on an ex parte basis and without

the benefit of an adversarial process and because the government has a

strong interest in the outcome. See, United States v. James Daniel Good

Real Property, 501 U.S. 43, 56 n.2 (1993) (extent of government’s financial

stake in forfeiture has produced a concomitant lack of neutrality); Krimstock

v. Kelly, 306 F.3d 40, 63 (2nd. Cir 2002) (there is need for greater

procedural safeguards—here, and early, pretrial adversary hearing—where

the government has a pecuniary interest in the outcome of forfeiture

proceedings), cert, denied, 539 U.S. 969 (2003).

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      The protection afforded by the Due Process Clause’s plain text

applies whenever the government has deprived a person “of…property.”

U.S. Cons. Amen V. Nothing in that clause limits the Fifth Amendment’s

protections to only those persons who need to use their seized property or

who are indigent. Accordingly, the federal courts have held that when the

government restrains a criminal defendant’s assets before trial on the

assertion that they may be subject to forfeiture, due process requires that

the defendant be afforded a post-deprivation, pretrial hearing to challenge

the restraint. If certain minimal conditions are satisfied, “[t]he wholesale use

of…forfeiture proceedings [should cause] grave concern when the

Government has clearly focused its law enforcement energies and

resources upon a person and attempts to restrain his property….” United

States v. $39,000 in Canadian Currency.” 801 F.2d 1210, 1219 n.7 (10th

Cir. 1986).

      The United States Supreme Court has made clear that pretrial

seizure, pursuant to 21 U.S.C. Sec. 853 (f) requires two probable cause

findings: (1) that the defendant committed an offense permitting forfeiture

and (2) that the property at issue has the requisite connection to that

crime.” Kaley v. United States, 134 S. Ct 1090,1095 (2014).

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      At the outset, defendant notes that he needs the funds in the seized

bank account in order to pay his rent and household necessities.

Additionally, the proceeds of the seized bank account are not the product of

criminal activity alleged in the indictment. Defendant is being deprived of

his needed asserts is in violation of the Due Process Clause of the United

States Constitution.

      Wherefore, the foregoing considered, defendant prays this Honorable

Court to discharge the Order of Seizure related to his bank in Utah and for

an Order preventing the United States from seizing any other bank

accounts belonging to defendant.


                                    Re3spectfully submitted,

                                    ______/s/__________________
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                      CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and accurate copy of the foregoing
was served, via the COURT’S ELECTRONIC FILING SYSTEM, upon all
counsel of record on this the 7th day of May, 2021.


                                  ______/s/_____________________
                                  Steven R. Kiersh




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